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               Reply to the Attention of:    Hollis V. Pfitsch, Esq.
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January 9, 2024

Via ECF
The Honorable Therese Wiley Dancks
United States Magistrate Judge
Northern District of New York
James T. Foley U.S. Courthouse
445 Broadway
Albany, New York 12207

       RE:     Acting Secretary of Labor v. Ip, No. 22-CV-886-MAD-TWD

Dear Judge Dancks:

On behalf of both parties, Plaintiff writes to request to extend the deadline to file discovery
motions in the above-referenced matter from January 12, 2024 to January 31, 2024. The parties
have been working amicably to resolve final discovery disputes but need a short adjournment. As
the Court is aware, Defendant’s counsel will be out of the country from January 10-18, 2024, and
the parties need additional time to exchange information, continue to discuss the final issues, and
submit them to the Court if needed. Accordingly, the parties also request to extend the deadline
to file pre-motion letters requesting leave to file dispositive motions to District Judge
D’Agostino from February 8, 2024, to February 29, 2024.

Here are the parties’ remaining issues and proposed resolutions:

   1) Defendant agrees to produce documents reflecting the events serviced by David Ip’s
      security services business between June 1, 2019 and August 31, 2019, for example, a
      calendar of events or schedule that shows the events that required staffing throughout that
      time. If calendars and schedules are do not exist, counsel will confer again to discuss
      alternative records from which a calendar of events can be constructed. Defendants will
      produce documents by Jan. 24, 2024, and the parties propose to address any remaining
      disputes about this matter by January 31, 2024.

   2) Plaintiff has requested limited additional financial information to ascertain Defendant’s
      net worth and Defendant objects. The parties jointly request to confer again on this
      discovery dispute after decisions on the parties’ anticipated dispositive motions and, if
      they are unable to resolve the dispute at that time, to then present the issue to the Court in
      the form of a pre-motion letter requesting leave to file a motion to compel.

   3) Defendant has issued a discovery request to Plaintiff, requesting the transcript of the
      deposition of Defendant David Ip. Plaintiff objects. The parties request to outline their
      positions in a letter to the Court by January 31, 2024.
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Thank you for the Court’s consideration of this matter.

Respectfully submitted,

Jeffrey S. Rogoff
Regional Solicitor

By:    /s/ Hollis V. Pfitsch
       Hollis V. Pfitsch
       Senior Trial Attorney

Attorneys for Plaintiff Acting Secretary of Labor




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